Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 1 of 13




                 EXHIBIT B-075
      Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 2 of 13




                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                 .------------
                                                                                   FILED IN OFFICE
                                      STATE OF GEORGIA


IN RE:                                        )
SPECIAL PURPOSE GRAND .TTJRY                  )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Mark Randall Meadows                          )


    CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
    SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
      CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

          related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 3 of 13




    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification ofNeed for Testimony Before Special Purpose Grand Jury" the Court

    finds that Mark Randall Meadows, born July 28, 1959, (hereinafter, "the Witness") is

    a necessary and material witness to the Special Purpose Grand Jury's investigation.

    The Court further finds that the Witness currently resides in Sunset, Pickens County,

    South Carolina.

4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is known to be affiliated with both former President Donald

    Trump and the Trump Campaign.

5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that from March 31, 2020, to January 20, 2021, the Witness served as Chief of

    Staff to former President Donald Trump and was in constant contact with former

    President Trump in the weeks following the November 2020 election.

6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

   finds that on December 21, 2020, the Witness attended a meeting at the White House
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 4 of 13




    with former President Trump, members of Congress, and others to discuss allegations

    of voter fraud and the certification of electoral college votes from Georgia and other

    states. The Witness confirmed this meeting in a Tweet on December 21, 2020, when

    he stated, "Several members of Congress just finished a meeting in the Oval Office

    with President @rea!DonaldTrump, preparing to fight back against mounting

    evidence of voter fraud. Stay tuned."

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that on December 22, 2020, the Witness made a surprise visit to the Cobb

    County Civic Center in Marietta, Georgia, where the Georgia Secretary of State's

    Office and the Georgia Bureau of Investigation were conducting an absentee ballot

    signature match audit. Officials conducting the audit were unaware of the Witness's

    trip to Georgia until shortly before he arrived at the Civic Center. The Witness

    requested to personally observe the audit process but was prevented from doing so

    because the audit was not open to the public.

8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that between at least December 30, 2020, and January I, 2021, the Witness sent

    e-mails to United States Department of Justice officials, including Acting Attorney

    General Jeffrey Rosen, making various allegations of voter fraud in Georgia and

    elsewhere and requesting that the Department of Justice conduct investigations into

    these allegations. The e-mails were obtained by the United States Senate Judiciary

    Committee and were released publicly.
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 5 of 13




 9. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that on January 2, 2021, former President Donald Trump and members of his

    team, including the Witness, participated in a lengthy telephone call with Georgia

    Secretary of State Brad Raffensperger and others to discuss allegations of voter fraud

    in Georgia. An audio recording of the telephone call was widely broadcast. During

    the telephone call, former President Trump stated to Secretary Raffensperger, "I just

    want to find 11,780 votes." The Witness actively participated in and spoke on the

    call, and the Special Purpose Grand Jury's investigation has revealed that the Witness

    was involved in setting up the call.

 I 0. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is a necessary and material witness. The Witness possesses

    unique knowledge concerning the logistics, planning, and subject matter of the

    meeting at the White House on December 21, 2020. The Witnesses possess unique

    knowledge concerning the logistics, planning, and execution of his visit to the Cobb

    County Civic Center on December 22, 2020. The Witness possesses unique

    knowledge concerning the logistics, planning, and subject matter of his e-mails to

    United States Department of Justice officials. The Witnesses possesses unique

    knowledge concerning the logistics, planning, execution, and subject matter of the

    January 2, 2021, phone call with Georgia Secretary of State Brad Raffensperger. The

    Witness possesses unique knowledge concerning relevant communications between

    the Witness, former President Donald Trump, the Trump Campaign, and other known
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 6 of 13




     and unknown individuals involved in the multi-state, coordinated efforts to influence

    the results of the November 2020 elections in Georgia and elsewhere. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 11. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 12. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, September 27, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 13. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

14. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

15. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
     Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 7 of 13




       16. This Certificate is made for the purpose of being presented to a judge of the Court of

           General Sessions of Pickens County, South Carolina, by the Office of the Solicitor,

           Thirteenth Judicial Circuit, or his duly authorized representative, who is proceeding at

           the request and on behalf of the Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,              V' )

       This the   ?7 day of August, 2022.



                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 8 of 13




                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 9 of 13




IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRAND JURY

               OJRDER APPROVING REQUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100, et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Cou1t of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C,G.A. §15-12-I00(b).

       IT IS THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge detennines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-lOl(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jmy, and shall charge said special

purpose grand jury and receive its reports as provided by law,
  Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 10 of 13




       This authorizationshall include the investigationof any overt acts or predicateacts

relating to the subject of the special purposegrandju1y's investigativepurpose. The special

purpose grandjury, when making its presentmentsand reports, pursuantto O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendationsconcerningcriminalprosecutionas it shall see

fit. Furthermore, the provisions ofO.C.G.A. § lS-12-83shall apply.

       This Court also notes that the appointmentof a special purpose grandjury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneledin this Circuit to continue to

be devoted to the considerationof the backlogof criminalmattersthat has accumulatedas a

result of the COVID-19 Pandemic.

       IT IS FURTHEROKJ,..lC.l:l,,rw.
                                  hat this Order shall be filed in the Office of the Clerk of

the Superior Court of Full                  '\
                                                 \
       SO ORDERED,T                        OF \ -""'--'--1--+---+-----'   2022.




                                                 S. BRASHER;GHIEFWDGE
                               Superior Court of FultonCounty
                               Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 11 of 13




                      •Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 12 of 13



               OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                           ATLANTAJUDICIALCIRCUIT
                        136PRYORSTREETSW,3RDFLOOR
                            ATLANTA,GEORGIA30303
!%'111Y.~h'&-1                     ~""10';:,-,,.
                                                      TELEPHONE404-612-4639
                                                          J!: ·~,
DistticcAttorney                               -0.,_
                                              fV
                                              1~
                                                 -~.-,
                                                    ·i       O&

                                                     ',h·f]:l,      L
                                                   d:JJ1.•~-•;:;    f.~
                                              ri.~    1   lY~,\¥:--;:J
                                               ·,-,,.. ~--: 11l._?,1,.,
                                               •,.:,._,L._;Ji_:_,,&;)/

                                                                                  EX- DODD/1
                                                                           2,D2-2.·-
     The HonorableChristopher S. Brasher
     ChiefJudge, Fulton County SuperiorCourt                                 FILED IN OFFICE
     FultonCounty Courthouse                                                                       J)
     185Central Avenue SW, Suite T-8905
     Atlanta,Georgia30303

     January20, 2022

     Dear Chief Judge Brasher:

    I hope this letter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
    Officehas received informationindicatinga reasonableprobabilitythat the State of Georgia's
    administrationof elections in 2020, includingthe State's electionof the Presidentof the United
    States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
    associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
    matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
    StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
    agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
    result,our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
    the outcomeof the 2020 electionsin this state.

    Wehave made efforts to interviewmultiplewitnessesand gatherevidence,and a significant
    numberof witnessesand prospectivewitnesseshave refusedto cooperatewith the investigation
    absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
    BradRaffensperger,an essentialwitnessto the investigation,has indicatedthat he will not
    participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
    my office.Please see Exhibit A, attachedto this letter.

    Therefore,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
    to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
    of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
    disruptthe lawfuladministrationof the 2020 electionsin the State of Georgia.Specifically,a
    specialpurpose grandjury, which will not have the authorityto return an indictmentbut may
    makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
    reasons;first, a special purpose grandjury can be impaneledby the Court for any time period
    requiredin order to accomplish its investigation,whichwill likely exceed a normal grandjury
             Case 1:23-cv-03721-SCJ Document 1-86 Filed 08/21/23 Page 13 of 13




        term;second, the special purpose grandjury wouldbe empoweredto reviewthis matterand this
        matteronly, with an investigatoryfocusappropriateto the complexityof the factsand
        circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attempt to
        addressthis matter in addition to their normalduties.

        Additiona!ly,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
        CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
        investigationand duties.

        I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
        of the Court.

   \espectful~,                 / /} /}

       ~-·'..,,_\       _.:......,"'---i~~-=--=------
<~i@)
'---      strict Attorney,Atlanta Judicial Circuit

       ExhibitA: Transcriptof October 31, 2021 episodeof Meet the Press on NBC News at 26:04
       (videoarchivedat https://www.youtube.com/watch?v=B7IcBRPgt9k)
       ExhibitB: Proposed Order

        cc:
        TheHonorableKimberly M. EsmondAdams
        TheHonorableJane C. Barwick
        The HonorableRachelle Carnesdale
        The HonorableThomas A. Cox, Jr.
        TheHonorableEric Dunaway
       The HonorableCharles M. Eaton, Jr.
       TheHonorableBelinda E. Edwards
       TheHonorableKelly Lee E!lerbe
       TheHonorableKevin M. Farmer
       TheHonorableUral Glanville
       TheHonorableShakura L. Ingram
       TheHonorableRachel R. Krause
       TheHonorableMelynee Leftridge
       The HonorableRobert C.I. McBurney
       The HonorableHenry M. Newkirk
       The HonorableEmily K. Richardson
       TheHonorableCraig L. Schwall, Sr.
       The HonorablePaige Reese Whitaker
       The HonorableShennela J. Williams
       FultonCountyClerk of Superior Court Cathelene"Tina" Robinson
